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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 COMMSCOPE TECHNOLOGIES LLC,

                               Plaintiff,

        v.                                      C.A. No. 21-cv-377-VAC

 AFL TELECOMMUNICATIONS LLC,

                               Defendant.



   UNOPPOSED SEVENTH MOTION TO EXTEND TIME TO SERVE COMPLAINT

       Plaintiff hereby moves to extend the deadline for it to serve the Complaint (D.I. 1) to

August 8, 2022. The parties are continuing discussion of potential settlements to this matter, and

jointly believe that an extension of this deadline to allow those settlement discussions to continue

would be worthwhile. Defendant does not oppose the requested extension.


 Dated: June 21, 2022                              Respectfully submitted,

                                                   FARNAN LLP

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